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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                    No. 18 CR 611
               v.
                                                    Judge Ronald A. Guzman
 JI CHAOQUN

                     GOVERNMENT’S MOTION IN LIMINE
                     TO ADMIT DEPOSITION TESTIMONY

        The United States of America, by and through its attorney, JOHN R. LAUSCH,

JR., United States Attorney for the Northern District of Illinois, hereby respectfully

submits this Motion In Limine to Admit the Rule 15 deposition testimony of Weiyun

Huang.

   I.      Background

        On March 19, 2022, the government filed a motion requesting authorization to

take the deposition, pursuant to Rule 15 of the Federal Rules of Criminal Procedure,

of Weiyun Huang, also known as “Kelly Huang.” R. 220. Huang was the founder of

Findream, an organization that ostensively provided employment, through an

Optional Practical Training (OPT) program, to Chinese nationals who were F-1

student visa holders. The OPT employment allowed the Chinese nationals to remain

in the United States. In reality, Huang, through Findream, provided false

employment documents for a fee to Chinese nationals, including the defendant.

        The government’s motion met the requirements for a Rule 15 deposition,

specifically that the witness would be unavailable to testify during the trial and that

the testimony is material. On March 22, 2022, the Court granted the motion. R. 226.
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         On April 6th, 2022, the deposition took place in this courthouse. The deposition

was video recorded and a court reporter was present and created a transcript. In total,

the deposition last approximately 70 minutes. The witness was questioned by the

government, cross-examined by the defense, re-directed and re-crossed. The parties

made objections on the record but the witness was allowed to answer the questions,

pending the Court’s ruling.

   II.      Argument

         Federal Rule of Criminal Procedure 15 states that,

         A party may move that a prospective witness be deposed in order to
         preserve testimony for trial. The court may grant the motion because of
         exceptional circumstances and in the interest of justice.

         Federal Rule of Criminal Procedure 15(f) provides that “an order authorizing

the deposition to be taken under this rule does not determine its admissibility.”

Huang’s testimony has been preserved. The government now seeks to admit the

videotape of the testimony at trial.

         The Witness is Unavailable

         Pursuant to Rule 15(f), the granting of the underlying motion to take the

deposition does not guarantee the admissibility of the deposition at trial – the

government would still need to establish the witness’s unavailability at the time of

trial. United States v. Drogoul, 1 F.3d 1546, 1554-55 (11th Cir. 1993); United States

v. Cooper, 947 F. Supp. 2d 108, 114 (D. DC 2013).

         A witness is unavailable at the time of trial if the proponent is unable “by

process or other reasonable means, to procure (A) the declarant’s attendance, in the



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case of a hearsay exception under Rule 804(b)(1) or (6).” Federal Rule of Evidence

804(a)(5)(A).

         Huang is living in China and is beyond the reach of the United States

government or this Court. She testified during the deposition that she was in the

process of returning to China (Exhibit 1. Deposition Transcript p. 55-56) and on April

11, 2022, Huang left the United States for China on Xiamen Air 1 flight 830 from Los

Angeles to Xiamen, China (See Exhibit 2, a Customs and Border Protection record of

Huang being on board the Xiamen Air flight, and Exhibit 3, an invoice from Grand

Asia travel agency in New York 2). As this Court has held, “Given the nature of the

charges against Defendant and the witness’s facilitation of Defendant’s alleged

conduct, the Court finds that if Ms. Huang were allowed to return to the People’s

Republic of China, it would be impracticable to secure her return to the Northern

District of Illinois to testify at Defendant’s criminal proceedings.” R. 227. Because she

now lives in China, the government is unable, by process or other reasonable means,

to procure her attendance at trial. In short, she is unavailable.

         The Defendant Had An Opportunity to Cross-Examine the Witness

         Federal Rule of Evidence 804(b)(1) allows for the admission of former

testimony if the testimony “(A) was given as a witness at a…lawful deposition” and




1   https://www.xiamenair.com/en-us/


2   https://www.agencydb.org/grand-asia-travel-agency-inc



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“(B) is now offered against a party who had…an opportunity and similar motive to

develop it by direct, cross-, or redirect examination.”

         “Federal Rule of Evidence 804(b)(1) governs the admissibility of former

testimony given by a witness who is unavailable to testify at trial. Under that rule,

former testimony by an unavailable witness is not excluded by the hearsay rule if ‘if

the party against whom the testimony is now offered ... had an opportunity and

similar motive to develop the testimony by direct, cross, or redirect examination.’

Fed.R.Evid. 804(b)(1).” United States v. West, 790 F. Supp. 2d 673, 683 (N.D. Ill.

2011).

         The deposition testimony was videotaped and transcribed. As the Court can

see from the videotape 3 and/or can determine from a review of the transcript (Exhibit

1), the defendant was able to, and did, fully cross-examine the witness.

         Moreover, the taking of the deposition to preserve the testimony does not

violate the Confrontation Clause. United States v. McGowan, 590 F. 3d 446, 456 (7th

Cir. 2009) (“[T]he videotapes allowed the jury to fully experience [the witness’s]

testimony, to view her demeanor, to hear her voice and to determine her credibility.

We have already held that there is no Confrontation Clause violation when admitting

fully cross-examined testimony preserved by a properly conducted Rule 15

deposition.”); See also United States v. Gigante, 166 F. 3d 75, 81 (2nd Cir. 1999);

United States v. McKeeve, 131 F.3d 1, 9 (1st Cir. 1997).




3   A copy of the videotape can be provided to the Court.

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      Huang is unavailable, the defendant was able to cross-examine her and her

testimony was preserved, allowing the jury to hear her voice and view her demeanor.

Her testimony is admissible pursuant to Federal Rule of Evidence 804(b)(1).

   III.     Objections

      During the deposition both parties objected to questions but allowed the

witness was to answer the questions. The government proposes that the Court hold

a hearing during which the Court can rule on the parties’ objections and the videotape

can then be edited accordingly. At trial, the government will play the edited video for

the jury.

                                   CONCLUSION

      For the reasons stated above, the government respectfully requests the Court

grant the government’s motion to admit the deposition of Weiyun Huang.


                                        Respectfully submitted,

                                        JOHN R. LAUSCH, Jr.
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Dated: May 5, 2022




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